
In this case the following points were decided.
1. That an attachment would not lie from this court against a sheriff for proceeding to carry into effect an execution under a decree of a Superiour Court of Chancery, aiter an aPPeal had been granted in vacation* by the Judge of that court; (although -the sheriff had notice of the appeal;) if such proceeding by him took place before ^ie recor&lt;J was brought up; for it was said to be no contempt to this court, until the cause was depending therein,
2-. That the act of the last session of Assembly, (1806, cp, 22. sect. 4.,) which declares that no appeal from a decree of a Superiour Court of Chancery, nor any writ of errour or supersedeas shall be granted by the Court of Appeals in court but only by a Judge, or by the Judges thereof during the term, or in vacation, was not meant to extend to such a supersedeas as is merely auxiliary to the proceedings of the court; for example, to stay the execu-tionof a decree of a Superiour Court of Chancery; where an appeal had been granted in vacation, and no superse-deas had been awarded at the time,
Present Judges Lyons, Fleming and Roane.'

 See revised Code, 1st vol. chap. 64. sect. 59- as to granting appeals • ,. &lt; mracatl0n-

